CaSe: 3219-mj-00232-|\/|.]N DOC #Z l Filed: 04/23/19 Page: l 014 PAGE|D #Z l

AO 9E (Rev. 08/09) Cn'minal Complaint

UNITED STATES DlSTRICT COURTY
for the "::§c‘. hbo 23 b LZ; 3a
Southern District of Ohio

 

United States of America )
v. ) _ _ s . 4 .
) Case No. §§ § '“;l ` T‘.`-_’;`;;; ':-’ z wi

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)

BLAKE JUL|AN JOHNSON )

Defendant(s)
CR.IMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of January 18, 2019 in the county of Montgomery in the
Southem District of Ohio , the defendant(s) violated:
Code Seciion Offense Descrzptfon

21 U. S. C. §§ 841 (a)(1) &(b)(1)(C) knowingly and intentionally possessed With intent to distribute a mixture or
substance containing a detectable amount of fentany|, a Schedu|e il
controlled substance

This criminal complaint is based on these facts:

SEE ATTACHED AFF|DAV|T

91 Continued on the attached Sheet.

To/%j’/;l/W

Cdzplainantl( s signature

TFO GREGORY J. GA|ER, FB|

Prz`ntea' name and title

Sworn to before me and signed in my presence

q , 1343 .._LL>\_»W\<»:_.`_

Date:

 

Judge 's signature

City and state: DAYTON, OH|O JUDGE WALTER H. R|CE, U.S. D|STR|CT COURT

Pri`nted name and title

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AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
I, Gregory J. Gaier, being duty sworn, do hereby depose and state as follows:
INTROI)UC'I`ION

l. I am a Detective with the Dayton Police Department. l have been employed by the City of
Dayton Since February 1995. I am currently assigned to the Federal Bureau of
Investigation’s (“FBI”) Southern Ohio Safe Streets Task Force as a Task Force Officer
(“TFO"). l have received training in drug-trafficking investigations and have participated
in numerous narcotics-related investigations (ultimately leading to successful prosecution)
that involved surveillance, gathering evidence of money laundering, interviewing
Suspected drug traffickers, and supervising the activities of informants Who provided
information and assistance that resulted in the seizure of narcotics Based on my training
and experience, I am familiar with federal drug laws, and I am aware that it is a violation
of Title 2], United States Code, Section 84l(a)(l) to possess with intent to distribute
controlled substances (including fentanyl).

2. This Affidavit is made in support of a complaint and seeks the issuance of a federal arrest
warrant against Blake Julian JOHNSON for knowingly and intentionally possessing with
intent to distribute a mixture or substance containing a detectable amount of fentanyl, a
Schedule II controlled substance, in violation of Title 21 U.S.C. §§ 841 (a)(l) and (b)(l)(C).

3. I, along with other officers, have participated in the investigation of JOHNSON in
connection with the conduct detailed in this Affldavit. My knowledge of the facts and
circumstances set forth in this Affidavit is based upon my own personal observations, as
well as information I have received from other sources, including other law enforcement
officers involved in the investigation ln this Affidavit, I have not distinguished between
information of which l have direct knowledge and that of which I have indirect knowledge

4. The facts in this Affldavit are submitted for the purpose of establishing probable cause, and
I have elected not to include all factual details gathered to date during the investigation

SUMMARY OF PROBABLE CAUSE

5. On January 18, 2019, I was contacted by the Amber Rose restaurant located on the 1400
block of Valley Street in Dayton, Ohio concerning alleged drug sales occurring in the rear
parking lot. The contact from the restaurant indicated that someone in a silver Hyundai
with tinted windows and a smoked license plate cover would meet with the occupants of
numerous other vehicles in the parking lot at all times of day and engage in what appeared
to be vehicle-to-vehicle drug transactions

6. That Samc day, TFOS Tirn Braun, Pat Bell, Dustin Phillips, _Tason Rhodes, and I Went to
the area of the Amber Rose to conduct surveillance on the rear parking lot. Dayton Police
Officer Randy Betsinger, driving a marked cruiser and wearing the uniform of the day,
assisted in the detail_

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At approximately 1:40 pm, a white GMC Sierra occupied by two white females arrived in
the rear parking lot. The females stayed in the GMC Sierra and did not enter the business
lt appeared as if the females were waiting on someone to arrive.

A few minutes later, a silver Hyundai Sonata, as previously described by the contact from
the Amber Rose, arrived in the rear parking lot. Officers later determined the driver (and
sole occupant of the vehicle) to be JOHNSON. JOHNSON pulled next to the GMC Sierra,
and the female driver of the GMC Sierra exited her vehicle and approached the passenger
window of the Hyundai Sonata. TFO Gaier observed the female engage in a hand-to-hand
exchange with JOHNSON. The female then got back into the GMC Sierra and drove away.
JOHNSON also left the parking lot in the Hyundai Sonata. TFO Phillips and Officer
Betsinger followed the GMC Sierra, while the other TFOS and l followed the Hyundai
Sonata.

TFO Phillips and Officer Betsinger stopped the GMC Sierra some distance away from the
Amber Rose parking lot. When the female driver emerged from the vehicle at law
enforcement’s request, two capsules of suspected cocaine were visible on the seat. The
female driver confessed to TFO Phillips, in sum and substance, that she had purchased the
two capsules from the driver of the Hyundai Sonata.

The two capsules seized from the female driver of the GMC Sierra were submitted to the
Miami Valley Regional Crime Lab (“MVRCL”) for analysis The MVRCL results showed
that the two capsules contained cocaine.

Separately, TFOs followed JOHNSON to an unknown address on Forest Home Avenue in
Riverside, Ohio. JOHNSON backed into the driveway. TFOs then decided to attempt to
stop JOHNSON, who saw officers approaching and accelerated out of the driveway TFO
Rhodes deployed stop sticks, which disabled two of JOHNSON’s tires, but JOHNSON
continued to flee, driving recklessly from the area.

JOHNSON lost control of the Hyundai Sonata in the area of 2201 Rondowa Avenue,
entering a snow-covered field and spinning his vehicle as he attempted to escape officers
TFOS were subsequently able to take JOHNSON into custody_

During a search of the immediate area in which JOHNSON’s vehicle had traveled, officers
recovered a plastic bag containing approximately 194 gel capsules of suspected fentanyl.
The bag was found on top of fresh snow consistent with the bag having been thrown from
the Hyundai Sonata, A second plastic bag containing suspected fentanyl was located
directly outside of the driver’s side door.

During a subsequent search of the vehicie, officers observed loose powder all over the front
seat. Officers also located an additional three plastic bags of suspected narcotics, a digital
scale with suspected drug residue, and seven cellular phones in the vehicle Additionally,
officers recovered a total of $l,366.00 from the vehicle and JOHNSON’s person.

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The narcotics seized from in and around the Hyundai Sonata were submitted to the
MVRCL for analysis The MVRCL results for the submissions showed:

a. the bag of around 194 gel capsules recovered from the snow field contained
fentanyl;
b. the bag recovered from outside the driver’s side door contained fentanyl and

cocaine; and

c. one of the bags recovered from inside vehicle contained fentanyl, and two contained
cocaine

JOHNSON was transported to the Dayton Police Department Safety Building, where FBI
Special Agcnt Robert Buzzard and TFO Bell then interviewed him. After being advised
of his Miranda Rights and agreeing to answer questions without an attorney present,
JOHNSON confessed, in sum and substance, to selling drugs at the Amber Rose parking
lot and to possession of the drugs recovered from in and around the Hyundai Sonata.

Based on the above, I believe that probable cause exists to conclude that, on January 18,
2019, JOHNSON, while in the Southem District of Ohio, knowingly and intentionally
possessed with intent to distribute a mixture or substance containing a detectable amount
of fentanyl, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 84l(a)(l) and

(b)(l )(C)-

Further your Affiant sayeth naught.

Subs

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Gregory'.l. Gaier, Task Force Officer
F ederal Bureau of lnvestigation
Southern Ohio Safe Streets Task Force

'bed and sworn to before me this

§§»t` day of April, 2019.

 

JUDGE WALTER H. RICE
UNITED STATES DISTRICT COURT

